_ Case 3:11-cv-00065-JRS Document 8-1 Filed 05/17/11 Page 1 of 9 PagelD# 39

EXHIBIT 1
Case 3:11-cv-00065-JRS Document 8-1 Filed 05/17/11 Page 2 of 9 PagelD# 40

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

KYSS BURTON, BY HER MOTHER,

SAKIA HALL AS NEXT FRIEND AND
SAKIA HALL,

Plaintiff,
Vv. Case No. 3:11-cv-00065-JRS
HAROLD FORD,

Defendant.

DEFENDANT FORD'S FIRST INTERROGATORIES TO PLAINTIFF

COMES NOW the defendant, Harold Ford, in his individual capacity (“Ford”), by

counsel, pursuant to Rule 33, Federal Rules of Civil Procedure, and submit the following

Interrogatories to be answered by the plaintiff within thirty (30) days. These Interrogatories are

continuing in nature so as to require you to file supplementary answers if you obtain further or

different information,

A. These Interrogatories are continuing in nature, so as to require you to file

Supplementary Answers if you obtain additional or different information before trial,

B. Where te name of an individual is requested, indicate the full name and home and

business address of such person. When the name of a corporation or parinership is requested,

indicate its full name, the address of its principal place of business, and the name and position of the

individual with knowledge of the requested matter.

C, Unless otherwise indicated, these interrogatories refer to the fime, place, and

circumstances of the occurrence mentioned or complained of in the pleadings.
EXHIBIT

Case 3:11-cv-00065-JRS Document 8-1 Filed 05/17/11 Page 3 of 9 PagelD# 41

D. Where information or knowledge in possession of a party is requested, such re

includes knowledge of the party's agent, next fiend, guardian, representatives and, “©
party p

privileged, his attorneys.

E, The pronouns "you" and "your" refer to the party to whom these Interrogator esseesnmsmmssm

addressed and the person mentioned in clause (d).

F, "Health care provider" includes every physician, dentist, osteopath, chiropx
psychologist, physical or psychotherapist, rehabilitationist, Hospital, emergency room Of Cee wean anennin

outpatient clinic, testing, or X-ray facility and any and all other practitioners of the healing arts

G. “Incident” refers to the events involving the shooting of the plaintiff on Feb

or 4, 2004, including ali related evens before and after the shooting as set forth in plaise
Complaint.

INTERROGATORIES

1. State the name, address (home and business), and telephone number (home

business) of any and all persons known or believed by you to have witnessed the incide=

March 3, 2010 as set forth in your Complaint.

ANSWER:

2. State the name, address (home and business), and telephone number (hom <

business) of any and all persons, not eyewitnesses, known or believed by you to have know BE...

of the incident sued upon.

ANSWER:
Case 3:11-cv-00065-JRS -Document 8-1 Filed 05/17/11 Page 4 of 9 PagelD# 42

dD, Where information or knowledge in possession of a party is requested, such request
includes knowledge of the party's agent, next friend, guardian, representatives and, unless
privileged, his attorneys.

E. The pronouns "you" and "your" refer to the party to whom these Interrogatories are
addressed and the person mentioned in clause (¢).

FP, "Health care provider" includes every physician, dentist, osteopath, chiropractor,
psychologist, physical or psychotherapist, rehabilitationist, hospital, emergency room or center,
outpatient clinic, testing; or X-ray facility and any and all other practitioners of the healing arts.

G. “Incident” refers to the events involving the shooting of the plaintiff on February 3

or 4, 2004, including all related evens before and after the shooting as set forth in plaintiff’ s

Complaint.

INTERROGATORIES
1. State the name, address (home and business), and telephone number (home and
business) of any and all persons known or believed by you to have witnessed the incident on
March 3, 2010 as set forth in your Complaint.

ANSWER:

2. Staie the name, address (home and business), and telephone number (home and
business) of any and all persons, not eyewitnesses, known or believed by you to have knowledge
of the incident sued upon.

ANSWER:
Case 3:11-cv-00065-JRS .Document 8-1 Filed 05/17/11 Page 5 of 9 PagelD# 43

3. State each and every statement about the incident alleged in the Complaint that

you claim to have heard Ford made before, during or after the incident on March 3, 2010. For

each such statement, identify the date and time the statement was made or given; whether or not
the statement was recorded, transcribed, or signed; and, state the substance of such statement.

ANSWER:

4, State whether or not you or Kyss Burton have made any statements concerning
the incident set forth in your Complaint. If the answer is in the affirmative, for each such
statement, identify to whom the statement was made or given, and state the substance of such

statement.

ANSWER:
5, Have you ever been arrested? Ifso, please state the date of the arrest, the department

or jurisdiction making the arrest, all charges brought as a result of the arrest, whether a conviction

resulted from the arrest, and the court in which the conviction occurred.

ANSWER:

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Case 3:11-cv-00065-JRS Document 8-1 Filed 05/17/11 Page 6 of 9 PagelD# 44

6. State the name and address of each hospital, clinic, doctor, physician, psychiatrist,
psychologist, mental health counselor, or other health care provider who K-yss Burton had seen for
any purpose whatsoever during the five (5) years prior to March 3, 2010. In respect to each such
health care provider, state the reason for such treatment and/or care and the dates thereof.

ANSWER:

7. State the name and address of each hospital, clinic, doctor, physician, psychiatrist,
psychologist, mental health counselor, or other health care provider who Kyss Burton has seen for
any purpose whatsoever since the March 3, 2010 incident. In respect to each such health care
provider, state the reason for such treatment and/or care and the dates thereof.

ANSWER:

8. If anyone has solicited, hired, employed, or made any arrangements on behalf of
the plaintiff for an expert witness or witnesses to act or testify on the plaintiff's behalf in any
manner pertaining to this action, whether related to the alleged wrongdoing of the defendants or
otherwise, for each such expert state:

A. The expert’s name and address;

B. the occupation and field of specialization;

C. the subject matter on which the expert 1s expected to testify;
Case 3:11-cv-00065-JRS ‘Document 8-1 Filed 05/17/11 Page 7 of 9 PagelD# 45

D. the substance of the facts and opinions to which the expert is expected to testify; and,
E. give asummary of the grounds for each such opinion.

ANSWER:

9, State the names, addresses and telephone numbers of any and all persons that you
believe will support your contention that Ford was responsible, negligent, liable or guilty of any
wrongdoing with respect to the incident complained of in your Complaint, and identify the
factual information known to that person,

ANSWER:

10. Please describe in detail any statement, whether written or oral, by any person
which you believe supports your contention that Ford was responsible, negligent, liable or guilty
of any wrongdoing with respect to the incident complained of in your Complaint.

ANSWER:

11. Set out in an itemized list all medical bills, special damages, consequential damages,

financial losses, loss of income, loss of earning capacity, and/or other expenses which you expect to
Case 3:11-cv-00065-JRS Document 8-1 Filed 05/17/11 Page 8 of 9 PagelD# 46

prove at trial as damages. As to each item, please state the reason therefore and the amount thereof.
If said item consists of expenses incurred, state the name and address of the party to whom paid or

owed,

ANSWER:

12. Please describe in detail any interaction you or Kyss Burton has had with any
officer of the Richmond City Police Department during the five years preceding March 3, 2019.
In so stating, please state the date of the interaction, the nature of the interaction, and the officer
with whom you interacted.

ANSWER:

13. Please state in detail any information that you or any family member received
from any officer with the Richmond City Police Department or official with the City of
Richmond concerning the incident on March 3, 2010. In so stating, please state the nature of the

information provided, the date the information was provided and who provided the information.

ANSWER:
Case 3:11-cv-00065-JRS ‘ Document 8-1 Filed 05/17/11 Page 9 of 9 PagelD# 47

HAROLD FORD

By Counsel

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CERTIFICATE

[hereby certify that a true copy of the foregoing was emailed and mailed hiv i) ie of
March, 2011 to:

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